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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Windstream Holdings, Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,                  None.
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          4001 North Rodney Parham Road
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box

                                          Little Rock, Arkansas 72212
                                                                                                      City                         State      Zip Code

                                          City                            State      Zip Code
                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Pulaski County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://www.windstream.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




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Debtor            Windstream Holdings, Inc.                                         Case number (if known)
           Name



                                           A. Check One:
7.   Describe debtor’s business
                                           ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                           ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                           ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                           ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                           ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                           ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           ☒ None of the above

                                           B. Check all that apply:
                                           ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                           ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                           ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           5172 - Wireless Telecommunications Carriers (except Satellite)

8. Under which chapter of the              Check One:
   Bankruptcy Code is the
   debtor filing?                          ☐ Chapter 7

                                           ☐ Chapter 9

                                           ☒ Chapter 11. Check all that apply:

                                                               ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                 4/01/19 and every 3 years after that).
                                                               ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                 debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                 of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               ☐ A plan is being filed with this petition.

                                                               ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).
                                                               ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                 Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                               ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                           ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.       District                           When                      Case number
   within the last 8 years?                                                                     MM/DD/YYYY
     If more than 2 cases, attach a                 District                           When                      Case number
     separate list.                                                                             MM/DD/YYYY

10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                   Relationship     Affiliate
                                                    Debtor      See attached Schedule 1
    business partner or an
    affiliate of the debtor?                        District    Southern District of New York
     List all cases. If more than 1,                                                                             When             02/25/2019
     attach a separate list.                        Case number, if known _______________________                                 MM / DD / YYYY



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Debtor           Windstream Holdings, Inc.                                         Case number (if known)
          Name



11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                   ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.     Insurance agency

                                                            Contact name
                                                            Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☐    25,001-50,000
    creditors (on a                   ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
    consolidated basis)               ☐     100-199                    ☐     10,001-25,000                      ☒    More than 100,000
                                      ☐     200-999



15. Estimated assets (on a            ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
    consolidated basis)               ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                      ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☒   $10,000,000,001-$50 billion
                                      ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion




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Debtor           Windstream Holdings, Inc.                                           Case number (if known)
          Name



16. Estimated liabilities (on        ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
    a consolidated basis)            ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☒   $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on            02/25/2019
                                                              MM/ DD / YYYY


                                              /s/ Kristi M. Moody                                                Kristi M. Moody
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Authorized Officer




18. Signature of attorney                     /s/ Stephen E. Hessler                                         Date        02/25/2019
                                              Signature of attorney for debtor                                           MM/ DD/YYYY



                                              Stephen E. Hessler
                                              Printed name
                                              Kirkland & Ellis LLP
                                              Firm name
                                              601 Lexington Avenue
                                              Number               Street
                                              New York                                                               New York          10022
                                              City                                                                   State               ZIP Code
                                              (212) 446-4800                                                         stephen.hessler@kirkland.com
                                              Contact phone                                                              Email address
                                              4576856                                             New York
                                              Bar number                                          State




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Official Form 201A (12/15)

      UNITED STATES BANKRUPTCY COURT
      SOUTHERN DISTRICT OF NEW YORK
                                                                             )
        In re:                                                               )   Chapter 11
                                                                             )
        WINDSTREAM HOLDINGS, INC.,                                           )   Case No. 19-___________(___)
                                                                             )
                                          Debtor.                            )
                                                                             )
            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

              1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
          number is   001-32422

              2. The following financial data is the latest available information and refers to the debtor’s condition on
          January 31, 2019


                 (a)   Total assets                                              $   13,126,435,000
                 (b)   Total debts (including debts listed in 2.c., below)       $   11,199,070,000
                 (c)   Debt securities held by more than 500 holders
                                                                                                                   Approximate
                                                                                                                   number of
                                                                                                                   holders:
                 secured     ☐    unsecured     ☐    subordinated      ☐     $
                 secured     ☐    unsecured     ☐    subordinated      ☐     $
                 secured     ☐    unsecured     ☐    subordinated      ☐     $
                 secured     ☐    unsecured     ☐    subordinated      ☐     $
                 secured     ☐    unsecured     ☐    subordinated      ☐     $


                 (d)   Number of shares of preferred stock                                                         01
                 (e)   Number of shares of common stock                                                            42,935,3342


               Comments, if any:     Windstream Holdings, Inc. does not and cannot know the precise number of beneficial
          holders of any of the debt securities it has issued and does not believe that any such securities are held by more than
          500 holders.


              3. Brief description of debtor’s business:
          The Debtors are a leading provider of advanced network communications and technology solutions for businesses across
          the United States. The Debtors also offer broadband, entertainment and security solutions to consumers and small
          businesses primarily in rural areas in 18 states. Additionally, the Debtors supply core transport solutions on a local and
          long-haul fiber network spanning approximately 150,000 miles.


               4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
          voting securities of debtor:
          BlackRock Institutional Trust Company, N.A. (8.00%); The Vanguard Group, Inc. (7.53%)




1
    6,666,667 shares authorized.

2
    As of December 31, 2018.
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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
                           Southern District of New York
                                         (State)                                                                          ☐ Check if this is an
 Case number (if known):                                   Chapter    11                                                      amended filing

                                                   Schedule 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title 11 of the United
States Code. The Debtors have moved for joint administration of these cases under the case number assigned to
the chapter 11 case of Windstream Holdings, Inc.


1.    Windstream Holdings, Inc.                    41.   Conestoga Management Services, Inc.      80.    Iowa Telecom Data Services, L.C.
2.    Windstream Business Holdings, LLC            42.   Conestoga Wireless Company               81.    Iowa Telecom Technologies, LLC
3.    Allworx Corp.                                43.   Connecticut Broadband, LLC               82.    IWA Services, LLC
4.    American Telephone Company, LLC              44.   Connecticut Telephone & Communication    83.    KDL Holdings, LLC
5.    ARC Networks, Inc.                                 Systems, Inc.                            84.    LDMI Telecommunications, LLC
6.    A.R.C. Networks, Inc.                        45.   Conversent Communications Long           85.    Lightship Telecom, LLC
7.    ATX Communications, Inc.                           Distance, LLC                            86.    MassComm, LLC
8.    ATX Licensing, Inc.                          46.   Conversent Communications of             87.    McLeodUSA Information Services LLC
9.    ATX Telecommunications Services of                 Connecticut, LLC                         88.    McLeodUSA Purchasing, LLC
      Virginia, LLC                                47.   Conversent Communications of Maine,      89.    McLeodUSA Telecommunications
10.   Birmingham Data Link, LLC                          LLC                                             Services, L.L.C.
11.   BOB, LLC                                     48.   Conversent Communications of             90.    MPX, Inc.
12.   Boston Retail Partners LLC                         Massachusetts, Inc.                      91.    Nashville Data Link, LLC
13.   BridgeCom Holdings, Inc.                     49.   Conversent Communications of New         92.    Network Telephone, LLC
14.   BridgeCom International, Inc.                      Hampshire, LLC                           93.    Norlight Telecommunications of Virginia,
15.   BridgeCom Solutions Group, Inc.              50.   Conversent Communications of New                LLC
16.   Broadview Networks, Inc.                           Jersey, LLC                              94.    Oklahoma Windstream, LLC
17.   Broadview Networks of Massachusetts,         51.   Conversent Communications of New         95.    Open Support Systems, LLC
      Inc.                                               York, LLC                                96.    PaeTec Communications of Virginia, LLC
18.   Broadview Networks of Virginia, Inc.         52.   Conversent Communications of             97.    PaeTec Communications, LLC
19.   Broadview NP Acquisition Corp.                     Pennsylvania, LLC                        98.    PAETEC Holding, LLC
20.   Buffalo Valley Management Services, Inc.     53.   Conversent Communications of Rhode       99.    PAETEC iTEL, L.L.C.
21.   Business Telecom of Virginia, Inc.                 Island, LLC                              100.   PAETEC Realty LLC
22.   Business Telecom, LLC                        54.   Conversent Communications of Vermont,    101.   PAETEC, LLC
23.   BV-BC Acquisition Corporation                      LLC                                      102.   PCS Licenses, Inc.
24.   Cavalier IP TV, LLC                          55.   Conversent Communications Resale         103.   Progress Place Realty Holding Company,
25.   Cavalier Services, LLC                             L.L.C.                                          LLC
26.   Cavalier Telephone Mid-Atlantic, L.L.C.      56.   CoreComm-ATX, Inc.                       104.   RevChain Solutions, LLC
27.   Cavalier Telephone, L.L.C.                   57.   CoreComm Communications, LLC             105.   SM Holdings, LLC
28.   CCL Historical, Inc.                         58.   CTC Communications Corporation           106.   Southwest Enhanced Network Services,
29.   Choice One Communications of                 59.   CTC Communications of Virginia, Inc.            LLC
      Connecticut Inc.                             60.   D&E Communications, LLC                  107.   Talk America of Virginia, LLC
30.   Choice One Communications of Maine           61.   D&E Management Services, Inc.            108.   Talk America, LLC
      Inc.                                         62.   D&E Networks, Inc.                       109.   Teleview, LLC
31.   Choice One Communications of                 63.   D&E Wireless, Inc.                       110.   Texas Windstream, LLC
      Massachusetts Inc.                           64.   Deltacom, LLC                            111.   The Other Phone Company, LLC
32.   Choice One Communications of New York        65.   Earthlink Business, LLC                  112.   TriNet, LLC
      Inc.                                         66.   Earthlink Carrier, LLC                   113.   TruCom Corporation
33.   Choice One Communications of Ohio Inc.       67.   Equity Leasing, Inc.                     114.   US LEC Communications LLC
34.   Choice One Communications of                 68.   Eureka Broadband Corporation             115.   US LEC of Alabama LLC
      Pennsylvania Inc.                            69.   Eureka Holdings, LLC                     116.   US LEC of Florida LLC
35.   Choice One Communications of Rhode           70.   Eureka Networks, LLC                     117.   US LEC of Georgia LLC
      Island Inc.                                  71.   Eureka Telecom, Inc.                     118.   US LEC of Maryland LLC
36.   Choice One Communications Resale             72.   Eureka Telecom of VA, Inc.               119.   US LEC of North Carolina LLC
      L.L.C.                                       73.   Georgia Windstream, LLC                  120.   US LEC of Pennsylvania LLC
37.   Choice One Communications of Vermont         74.   Heart of the Lakes Cable Systems, Inc.   121.   US LEC of South Carolina LLC
      Inc.                                         75.   Infocore, Inc.                           122.   US LEC of Tennessee LLC
38.   Choice One of New Hampshire, Inc.            76.   Info-Highway International, Inc.         123.   US LEC of Virginia LLC
39.   Cinergy Communications Company of            77.   InfoHighway Communications Corporation   124.   US Xchange Inc.
      Virginia, LLC                                78.   InfoHighway of Virginia, Inc.            125.   US Xchange of Illinois, L.L.C.
40.   Conestoga Enterprises, Inc.                  79.   Intellifiber Networks, LLC               126.   US Xchange of Indiana, L.L.C.
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127.   US Xchange of Michigan, L.L.C.           153. Windstream Georgia Communications,        179.   Windstream North Carolina, LLC
128.   US Xchange of Wisconsin, L.L.C.               LLC                                       180.   Windstream NorthStar, LLC
129.   Valor Telecommunications of Texas, LLC   154. Windstream Georgia Telephone, LLC         181.   Windstream NTI, LLC
130.   WaveTel NC License Corporation           155. Windstream Georgia, LLC                   182.   Windstream NuVox Arkansas, LLC
131.   WIN Sales & Leasing, Inc.                156. Windstream Holding of the Midwest, Inc.   183.   Windstream NuVox Illinois, LLC
132.   Windstream Accucomm Networks, LLC        157. Windstream Iowa Communications, LLC       184.   Windstream NuVox Indiana, LLC
133.   Windstream Accucomm                      158. Windstream Iowa-Comm, LLC                 185.   Windstream NuVox Kansas, LLC
       Telecommunications, LLC                  159. Windstream IT-Comm, LLC                   186.   Windstream NuVox Missouri, LLC
134.   Windstream Alabama, LLC                  160. Windstream KDL, LLC                       187.   Windstream NuVox Ohio, LLC
135.   Windstream Arkansas, LLC                 161. Windstream KDL-VA, LLC                    188.   Windstream NuVox Oklahoma, LLC
136.   Windstream Buffalo Valley, Inc.          162. Windstream Kentucky East, LLC             189.   Windstream NuVox, LLC
137.   Windstream BV Holdings, LLC              163. Windstream Kentucky West, LLC             190.   Windstream of the Midwest, Inc.
138.   Windstream Cavalier, LLC                 164. Windstream Kerrville Long Distance, LLC   191.   Windstream Ohio, LLC
139.   Windstream Communications Kerrville,     165. Windstream Lakedale Link, Inc.            192.   Windstream Oklahoma, LLC
       LLC                                      166. Windstream Lakedale, Inc.                 193.   Windstream Pennsylvania, LLC
140.   Windstream Communications Telecom,       167. Windstream Leasing, LLC                   194.   Windstream Services, LLC
       LLC                                      168. Windstream Lexcom Communications,         195.   Windstream SHAL Networks, Inc.
141.   Windstream Communications, LLC                LLC                                       196.   Windstream SHAL, LLC
142.   Windstream Concord Telephone, LLC        169. Windstream Lexcom Entertainment, LLC      197.   Windstream Shared Services, LLC
143.   Windstream Conestoga, Inc.               170. Windstream Lexcom Long Distance, LLC      198.   Windstream South Carolina, LLC
144.   Windstream CTC Internet Services, Inc.   171. Windstream Lexcom Wireless, LLC           199.   Windstream Southwest Long Distance,
145.   Windstream D&E Systems, LLC              172. Windstream Mississippi, LLC                      LLC
146.   Windstream D&E, Inc.                     173. Windstream Missouri, LLC                  200.   Windstream Standard, LLC
147.   Windstream Direct, LLC                   174. Windstream Montezuma, LLC                 201.   Windstream Sugar Land, LLC
148.   Windstream Eagle Holdings LLC            175. Windstream Nebraska, Inc.                 202.   Windstream Supply, LLC
149.   Windstream Eagle Services, LLC           176. Windstream Network Services of the        203.   Windstream Systems of the Midwest, Inc.
150.   Windstream EN-TEL, LLC                        Midwest, Inc.                             204.   Windstream Western Reserve, LLC
151.   Windstream Finance Corp                  177. Windstream New York, Inc.                 205.   Xeta Technologies, Inc.
152.   Windstream Florida, LLC                  178. Windstream Norlight, LLC




       Schedule 1                                                                                                                      Page 2
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                    )
     In re:                                                         )       Chapter 11
                                                                    )
     WINDSTREAM HOLDINGS, INC.,                                     )       Case No. 19-___________(___)
                                                                    )
                                  Debtor.                           )
                                                                    )

                                          LIST OF EQUITY SECURITY HOLDERS3

                                                                                                                 Percentage of
              Debtor                      Equity Holders                  Address of Equity Holder
                                                                                                                  Equity Held
                                     BlackRock Institutional            400 Howard Street
                                                                                                                      8.00%
                                     Trust Company, N.A.                San Francisco, CA 94105
                                                                        100 Vanguard Boulevard V26
                                     The Vanguard Group, Inc.                                                         7.53%
                                                                        Malvern, PA 19355
                                                                        53 Market St Gardenia Court
                                     CQS Cayman LP                      Camana Bay, Grand Cayman KY1-                 4.63%
                                                                        1104
                                     Elliott Management                 40 West 57th Street
                                                                                                                      4.31%
                                     Corporation                        New York, NY 10019
                                                                        399 Park Avenue
                                     Brigade Capital
                                                                        Suite 1600                                    4.01%
                                     Management, LP
                                                                        New York, NY 10022
                                     Renaissance                        800 Third Avenue
                                                                                                                      3.78%
                                     Technologies LLC                   New York, NY 10022
                                                                        40 West 57th Street
                                     PointState Capital LP              25th Floor                                    3.03%
                                                                        New York, NY 10019
                                     JP Morgan Asset                    245 Park Avenue
                                                                                                                      2.70%
     Windstream Holdings, Inc.       Management                         New York, NY 10167
                                                                        280 Park Avenue
                                     BlueMountain Capital
                                                                        12th Floor                                    2.32%
                                     Management, LLC
                                                                        New York, NY 10017
                                                                        131 South Dearborn Street
                                     Citadel LLC                                                                      2.31%
                                                                        Chicago, IL 60603
                                     Charles Schwab
                                     Investment Management,             211 Main Street                               2.20%
                                     Inc.                               San Francisco, CA 94105
                                     State Street Global                1 Iron Street
                                                                                                                      2.20%
                                     Advisors (US)                      Boston, MA 02210-1641
                                                                        3500 Lacey Road
                                     Invesco Capital
                                                                        Suite 700                                     1.37%
                                     Management LLC
                                                                        Downers Grove, IL 60515
                                                                        150 East 58th Street
                                     Spark Investment
                                                                        26th Floor                                    1.17%
                                     Management LLC
                                                                        New York, NY 10155-0002
                                     Northern Trust                     50 South La Salle Street
                                                                                                                      1.10%
                                     Investments, Inc.                  Chicago, IL 60603

 3
        This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of Bankruptcy
        Procedure. All equity positions listed are as of February 15, 2019. By the Debtors’ Motion for Entry of an Order (I) Extending
        Time to File Schedules of Assets and Liabilities, Schedules of Current Income and Expenditures, Schedules of Executory
        Contracts and Unexpired Leases, Statements of Financial Affairs, and Rule 2015.3 Financial Reports, and (II) Waiving
        Requirements to File Lists of Equity Holders filed contemporaneously herewith, the debtor is requesting a waiver of the
        requirement under rule 1007 to file a list of all of its equity security holders.
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                                                                                              Percentage of
         Debtor                  Equity Holders              Address of Equity Holder
                                                                                               Equity Held
                             Bank of America Merrill     100 North Tryon Street
                                                                                                 0.95%
                             Lynch (US)                  Charlotte, NC 28255
                             Geode Capital               One Post Office Square, 20th Floor
                                                                                                 0.94%
                             Management, L.L.C.          Boston, MA 02109-2804
                             Millennium Management       666 Fifth Avenue, 8th Floor
                                                                                                 0.81%
                             LLC                         New York, NY 10103
                             Goldman Sachs &             200 West Street, 29th Floor
                                                                                                 0.73%
                             Company, Inc.               New York, NY 10282
                                                         Lincoln Plaza
                             California Public
                                                         East 400 Q Street
                             Employees' Retirement                                               0.71%
                                                         Room 1820
                             System
                                                         Sacramento, CA 95811
                                                         1918 Eighth Avenue
                             Parametric Portfolio
                                                         Suite 3100                              0.64%
                             Associates LLC
                                                         Seattle, WA 98101
                                                         745 7th Avenue
                             Barclays Capital Inc.                                               0.59%
                                                         New York, NY 10019
                             American Century
                             Investment Management,      4500 Main Street                        0.40%
                             Inc.                        Kansas City, MO 64111-7709
                                                         550 South Tryon Street
                             Wells Fargo Securities,     6th Floor
                                                                                                 0.37%
                             LLC                         D1086-060
                                                         Charlotte, NC 28202
                                                         2200 Geng Road
                             CTC myCFO, LLC              Suite 100                               0.35%
                                                         Palo Alto, CA 94303
                                                         140 Broadway
                             Alpine Global
                                                         38th Floor                              0.35%
                             Management, LLC
                                                         New York, NY 10005
                             BlackRock Investment        1 University Square Drive
                                                                                                 0.32%
                             Management, LLC             Princeton, NJ 08540-6455
 Windstream Holdings, Inc.                               11 Madison Avenue
                             Credit Suisse Securities
                                                         24th Floor                              0.31%
                             (USA) LLC
                                                         New York, NY 10010
                             Susquehanna                 401 City Avenue
                                                                                                 0.29%
                             International Group, LLP    Bala Cynwyd, PA 19004
                                                         100 Avenue of the Americas
                             Two Sigma Investments,
                                                         16th Floor                              0.28%
                             LP
                                                         New York, NY 10013
                                                         BNY Mellon Center
                             BNY Mellon Asset
                                                         201 Washington Street                   0.28%
                             Management
                                                         Boston, MA 02108
                                                         One International Place
                             PanAgora Asset
                                                         24th Floor                              0.27%
                             Management Inc.
                                                         Boston, MA 02110
                             California State Teachers   100 Waterfront Place
                                                                                                 0.25%
                             Retirement System           West Sacramento, CA 95605
                                                         Havenlaan 2
                             KBC Group NV                Brussels, 1080                          0.22%
                                                         Belgium
                             BlackRock Financial         40 East 52nd Street
                                                                                                 0.22%
                             Management, Inc.            New York, NY 10022
                             SG Americas Securities,     245 Park Avenue
                                                                                                 0.21%
                             L.L.C.                      New York, NY 10167
                                                         Bankplassen 2
                             Norges Bank Investment      P.O. Box 1179
                                                                                                 0.21%
                             Management (NBIM)           Sentrum Oslo, NO-0107
                                                         Norway

                                                         2
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                                                                                        Percentage of
         Debtor                  Equity Holders              Address of Equity Holder
                                                                                         Equity Held
                                                         477 Madison Avenue
                             Bardin Hill Investment
                                                         8th Floor                         0.20%
                             Partners LP
                                                         New York, NY 10022
                                                         1745 Broadway
                             PDT Partners, LLC           25th Floor                        0.20%
                                                         New York, NY 10019
                                                         1285 Avenue of the Americas
                             UBS Securities LLC                                            0.20%
                                                         New York, NY 10019
                                                         20 Greenway Plaza
                             Bridgeway Capital
                                                         Suite 450                         0.19%
                             Management, Inc.
                                                         Houston, TX 77046
                                                         50 Bank Street
                             Northern Trust Global       Canary Wharf
                                                                                           0.18%
                             Investments                 London, E145NT
                                                         United Kingdom
                                                         One Corporate Center
                             Gabelli Funds, LLC                                            0.18%
                                                         Rye, NY 10580-1422
                                                         200 Clarendon Street
                             Arrowstreet Capital,
                                                         30th Floor                        0.18%
                             Limited Partnership
                                                         Boston, MA 02116
                                                         4900 Tiedeman Road
                             Victory Capital
                                                         4th Floor                         0.17%
                             Management Inc.
                                                         Brooklyn, OH 44144-1226
                                                         Two Greenwich Plaza
                             AQR Capital
                                                         3rd Floor                         0.17%
                             Management, LLC
                                                         Greenwich, CT 06830
                                                         265 Franklin Street
                             Rhumbline Advisers Ltd.
                                                         21st Floor                        0.15%
                             Partnership
                                                         Boston, MA 02110
                                                         1345 Avenue of the Americas
                             AllianceBernstein L.P.                                        0.15%
                                                         New York, NY 10105
                                                         520 Madison Avenue
                             Jefferies LLC               10th Floor                        0.14%
                                                         New York, NY 10022
                             Deutsche Asset              345 Park Avenue
                                                                                           0.14%
                             Management Americas         New York, NY 10154
                                                         One Boston Place
                             Mellon Investments
                                                         201 Washington Street             0.14%
                             Corporation
                                                         Boston, MA 02108-4408
                             J.P. Morgan Securities      277 Park Avenue
                                                                                           0.13%
                             LLC                         New York, NY 10172
                             JPMorgan Private Bank       270 Park Avenue
                                                                                           0.13%
                             (United States)             New York, NY 10017
                             Raymond James &             880 Carillon Parkway
                                                                                           0.11%
                             Associates, Inc.            St. Petersburg, FL 33716
                                                         425 S Financial Place
                             Group One Trading, L.P.     Suite 3232                        0.10%
                                                         Chicago, IL 60605
                                                         Schenkkade 65
 Windstream Holdings, Inc.
                             NNIP Advisors B.V.          The Hague, AS 2595                0.09%
                                                         Netherlands
                                                         420 Montgomery Street
                             Wells Fargo Bank, N.A.                                        0.09%
                                                         San Francisco, CA 94104
                             T. Rowe Price Associates,   100 East Pratt Street
                                                                                           0.09%
                             Inc.                        Baltimore, MD 21202
                             New York State Common       110 State Street
                                                                                           0.09%
                             Retirement Fund             Albany, NY 12236
                                                         730 Third Ave
                             Nuveen LLC                                                    0.08%
                                                         New York, NY 10017

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                                                                                Percentage of
       Debtor            Equity Holders              Address of Equity Holder
                                                                                 Equity Held
                                                 1801 Hermitage Blvd.
                     Florida State Board of
                                                 Suite 100                         0.07%
                     Administration
                                                 Tallahassee, FL 32308
                                                 650 Newport Center Drive
                     PIMCO (US)                                                    0.07%
                                                 Newport Beach, CA 92660
                     Citi Investment Research    388 Greenwich Street
                                                                                   0.06%
                     (US)                        New York, NY 10013
                                                 525 Market Street
                     Wells Capital
                                                 10th Floor                        0.06%
                     Management Inc.
                                                 San Francisco, CA 94105
                     Acadian Asset               260 Franklin Street
                                                                                   0.06%
                     Management LLC              Boston, MA 02110
                                                 Harborside 5
                     SunAmerica Asset            185 Hudson St
                                                                                   0.06%
                     Management, LLC             Suite 3300
                                                 Jersey City, NJ 07311
                                                 601 Union Street
                     Morgan Stanley Wealth
                                                 Suite 5200                        0.06%
                     Management
                                                 Seattle, WA 98101
                                                 Ground Floor Tower 1
                     Commonwealth Bank of        201 Sussex Street
                                                                                   0.06%
                     Australia                   Sydney, NSW 2000
                                                 Australia
                                                 525 Market Street
                     Analytic Investors, LLC     10th Floor                        0.06%
                                                 San Francisco, CA 94105
                                                 2300 North Field Street
                     HBK Investments, L.P.       Suite 2200                        0.06%
                                                 Dallas, TX 75201
                                                 230 S. LaSalle St
                     Simplex Trading, LLC        No 4                              0.05%
                                                 Chicago, IL 60604
                                                 One South Pickney St
                     Isthmus Partners, LLC       Suite 818                         0.04%
                                                 Madison, WI 53703
                                                 One Corporate Center
                     Teton Advisors, Inc.        401 Theodore Fremd Avenue         0.04%
                                                 Rye, NY 10580
                     Commonwealth Financial      29 Sawyer Road
                                                                                   0.04%
                     Network                     Waltham, MA 02453-3483
                     Public Employees'
                     Retirement Association of   1301 Pennsylvania St              0.04%
                     CO                          Denver, CO 80203
                                                 175 W. Jackson Blvd
                     Wolverine Trading, LLC      Suite 200                         0.04%
                                                 Chicago, IL 60604
                                                 1166 Avenue of the Americas
                     D. E. Shaw & Co., L.P.      9th Floor                         0.04%
                                                 New York, NY 10036
                                                 2050 Marconi Drive
                     Cavalier Investments, LLC   Suite 300                         0.04%
                                                 Alpharetta, GA 30005
                                                 18925 Base Camp Road
                     Advisors Asset
                                                 Suite 203                         0.04%
                     Management, Inc.
                                                 Monument, CO 80132
                     Voya Investment             230 Park Avenue
                                                                                   0.04%
                     Management LLC              New York, NY 10169




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                                                                                         Percentage of
         Debtor                  Equity Holders              Address of Equity Holder
                                                                                          Equity Held
                                                         3711 Kennett Pike
                             Friess Associates LLC       Suite 205                          0.03%
                                                         Greenville, DE 19807
                                                         440 South LaSalle Street
                             Spot Trading LLC_NLE        Suite 2800                         0.03%
                                                         Chicago, IL 60605
                                                         12 Throgmorton Avenue
                             BlackRock Advisors (UK)     Draper Gardens
                                                                                            0.03%
                             Limited                     London, EC2N 2DL
                                                         United Kingdom
                                                         227 W. Monroe
                             Zacks Investment
                                                         Suite 4350                         0.03%
                             Management, Inc.
                                                         Chicago, IL 60606
                                                         Tokyo Building
                             JPMorgan Asset
                                                         7-3 Marunouchi 2- Chome
                             Management (Japan)                                             0.03%
                                                         Chiyoda-Ku, 100-6432
                             Limited
                                                         Japan
                                                         200 Blur Street East
                             Manulife Asset              North Tower, 6th Fl
                                                                                            0.03%
                             Management Limited          Toronto, ON M4W 1E5
                                                         Canada
                                                         One Appold Street
                             Deutsche Asset
                                                         London, EC2A 2UU                   0.03%
                             Management (UK) Limited
                                                         United Kingdom
                                                         510 Madison Ave
                             Stone Ridge Asset
                                                         21st Floor                         0.03%
                             Management LLC
                                                         New York City, NY 10022
                             First Republic Investment   111 Pine Street
                                                                                            0.03%
                             Management, Inc.            San Francisco, CA 94111
                             RBC Capital Markets         60 S 6th St
                                                                                            0.03%
                             Wealth Management           Minneapolis, MN 55402
                                                         300 Vesey Street
                             Virtu Americas LLC                                             0.03%
                                                         New York, NY 10282
                             Raymond James Financial     880 Carillon Parkway
                                                                                            0.03%
                             Services Advisors, Inc.     St. Petersburg, FL 33716
                                                         411 W. Lafeyette Blvd
                             World Asset Management,
                                                         MC 3379                            0.02%
                             Inc.
                                                         Detroit, MI 48226
                                                         1901 6th Avenue North
                             Regions Investment
                                                         4th Floor                          0.02%
                             Management, Inc.
                                                         Birmingham, AL 35203
 Windstream Holdings, Inc.                               10 N High St
                             TFS Capital LLC             5th Floor                          0.02%
                                                         West Chester, PA 19380
                                                         George House
                                                         131 Sloane St
                             Marshall Wace LLP                                              0.02%
                                                         London, SW1X 9AT
                                                         United Kingdom
                                                         377 Broadway
                             Tower Research Capital
                                                         11th Floor                         0.02%
                             LLC
                                                         New York, NY 10013
                                                         50 Main St
                             Quantamental
                                                         Suite 501                          0.01%
                             Technologies LLC
                                                         White Plains, NY 10606
                             USAA Investment             9800 Fredericksburg Road
                                                                                            0.01%
                             Management Company          San Antonio, TX 78288-0227
                                                         1021 East Cary Street
                             Wells Fargo Advisors        James Center II, 22nd Floor        0.01%
                                                         Richmond, VA 23219


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 WINDSTREAM HOLDINGS, INC.,                           )    Case No. 19-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

     N/A                                                                          N/A
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    Fill in this information to identify the case:

    Debtor name         Windstream Holdings, Inc., et al.

    United States Bankruptcy Court for the:      Southern District of New York                                                                     Check if this is an
    Case number (If known):                                                                (State)                                                 amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                         12/15

    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50
    largest unsecured claims.

                                                                                                                                                    Amount of claim
                                                                                                      Nature of
                                                                                                       claim
                                                                                                                                         If the claim is fully unsecured, fill in only
                                                                                                                                      unsecured claim amount. If claim is partially
                                                                                                          (for         Indicate if
                                                                                                                                           secured, fill in total claim amount and
                                                                                                       example,         claim is
        Name of creditor and complete                  Name, telephone number and email                                                deduction for value of collateral or setoff to
                                                                                                     trade debts,     contingent,
       mailing address, including zip code                address of creditor contact                                                            calculate unsecured claim.
                                                                                                      bank loans,    unliquidated,
                                                                                                                                                   1Deduction
                                                                                                     professional     or disputed      Total
                                                                                                                                                   for value of
                                                                                                     services, and                   claim, if
                                                                                                                                                    collateral        Unsecured Claim
                                                                                                     government                      partially
                                                                                                                                                     or setoff
                                                                                                      contracts)                     secured
                                                                                                                                                         [1]
     U.S. BANK NATIONAL
     ASSOCIATION                                     ATTN: GLOBAL CORPORATE TRUST
     TWO MIDTOWN PLAZA                               SERVICES
                                                                                                       BOND
1    1349 WEST PEACHTREE                             TELEPHONE: (404) 898-8830                                                                                     $806,900,000.00
                                                                                                       DEBT
     STREET                                          FACSIMILE: (404) 898-8844
     SUITE 1050                                      EMAIL: N/A
     ATLANTA, GEORGIA 30309
     U.S. BANK NATIONAL
     ASSOCIATION                                     ATTN: GLOBAL CORPORATE TRUST
     TWO MIDTOWN PLAZA                               SERVICES
                                                                                                       BOND
2    1349 WEST PEACHTREE                             TELEPHONE: (404) 898-8830                                                                                     $105,800,000.00
                                                                                                       DEBT
     STREET                                          FACSIMILE: (404) 898-8844
     SUITE 1050                                      EMAIL: N/A
     ATLANTA, GEORGIA 30309
     U.S. BANK NATIONAL
     ASSOCIATION                                     ATTN: GLOBAL CORPORATE TRUST
     TWO MIDTOWN PLAZA                               SERVICES
                                                                                                       BOND
3    1349 WEST PEACHTREE                             TELEPHONE: (404) 898-8830                                                                                      $78,100,000.00
                                                                                                       DEBT
     STREET                                          FACSIMILE: (404) 898-8844
     SUITE 1050                                      EMAIL: N/A
     ATLANTA, GEORGIA 30309
     U.S. BANK NATIONAL
     ASSOCIATION                                     ATTN: GLOBAL CORPORATE TRUST
     TWO MIDTOWN PLAZA                               SERVICES
                                                                                                       BOND
4    1349 WEST PEACHTREE                             TELEPHONE: (404) 898-8830                                                                                      $70,100,000.00
                                                                                                       DEBT
     STREET                                          FACSIMILE: (404) 898-8844
     SUITE 1050                                      EMAIL: N/A
     ATLANTA, GEORGIA 30309
                                                     ATTN: GENERAL COUNSEL
     AT&T                                            TELEPHONE: 210-821-4105
5    208 SOUTH AKARD STREET                          FAX: 210-351-2198                                 TRADE                                                        $49,551,947.00
     DALLAS, TX 75202                                EMAIL: DAVID.MCATEE@ATT.COM;
                                                     WW0118@ATT.COM

         1
             The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.
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                                                                                                                                Amount of claim
                                                                                  Nature of
                                                                                   claim
                                                                                                                     If the claim is fully unsecured, fill in only
                                                                                                                  unsecured claim amount. If claim is partially
                                                                                      (for         Indicate if
                                                                                                                       secured, fill in total claim amount and
                                                                                   example,         claim is
       Name of creditor and complete          Name, telephone number and email                                     deduction for value of collateral or setoff to
                                                                                 trade debts,     contingent,
      mailing address, including zip code        address of creditor contact                                                 calculate unsecured claim.
                                                                                  bank loans,    unliquidated,
                                                                                                                               1Deduction
                                                                                 professional     or disputed      Total
                                                                                                                               for value of
                                                                                 services, and                   claim, if
                                                                                                                                collateral        Unsecured Claim
                                                                                 government                      partially
                                                                                                                                 or setoff
                                                                                  contracts)                     secured
                                                                                                                                     [1]
     U.S. BANK NATIONAL
     ASSOCIATION                            ATTN: GLOBAL CORPORATE TRUST
     TWO MIDTOWN PLAZA                      SERVICES
                                                                                   BOND
 6   1349 WEST PEACHTREE                    TELEPHONE: (404) 898-8830                                                                           $36,200,000.00
                                                                                   DEBT
     STREET                                 FACSIMILE: (404) 898-8844
     SUITE 1050                             EMAIL: N/A
     ATLANTA, GEORGIA 30309
     U.S. BANK NATIONAL
     ASSOCIATION                            ATTN: GLOBAL CORPORATE TRUST
     TWO MIDTOWN PLAZA                      SERVICES
                                                                                   BOND
 7   1349 WEST PEACHTREE                    TELEPHONE: (404) 898-8830                                                                           $34,400,000.00
                                                                                   DEBT
     STREET                                 FACSIMILE: (404) 898-8844
     SUITE 1050                             EMAIL: N/A
     ATLANTA, GEORGIA 30309
                                            ATTN: GENERAL COUNSEL
     VERIZON
                                            TELEPHONE: 212-395-1000
     1095 AVENUE OF THE
 8                                          FAX: 212-517-1897                      TRADE                                                        $34,054,820.00
     AMERICAS
                                            EMAIL:
     NEW YORK, NY 10036
                                            CRAIG.SILLIMAN@VERIZON.COM
                                            ATTN: GENERAL COUNSEL
     AT&T PRO CABS                          TELEPHONE: 210-821-4105
 9   208 SOUTH AKARD STREET                 FAX: 210-351-2198                      TRADE                                                         $8,802,645 .00
     DALLAS, TX 75202                       EMAIL: DAVID.MCATEE@ATT.COM;
                                            WW0118@ATT.COM
                                            ATTN: DIRECTOR OR OFFICER
     GLOBE COMMUNICATIONS INC.
                                            TELEPHONE: 843- 839-5544
     950 48TH AVE NORTH
10                                          FAX: 843-839-5545                      TRADE                                                          $8,368,733.00
     SUITE 100
                                            EMAIL:
     MYRTLE BEACH, SC 29577
                                            RUSTYLUNDY@GLOBEINC.COM
                                            ATTN: ROC-CABS
     BELLSOUTH PRO CABS                     TELEPHONE: 555-555-5555;
11   600 N POINT PKWY                       404-249-2000                           TRADE                                                          $7,467,897.00
     ALPHARETTA, GA 30005                   FAX: 404-249-2071 EMAIL:
                                            RT2547@ATT.COM
                                            ATTN: GENERAL COUNSEL
                                            TELEPHONE: 318-388-9000
     CENTURYLINK
                                            FAX: 318-388-9064
12   100 CENTURYLINK DRIVE                                                         TRADE                                                          $7,028,123.00
                                            EMAIL:
     MONROE, LA 71203
                                            STACEY.GOFF@CENTURYLINK.CO
                                            M
                                            ATTN: GENERAL COUNSEL
     FRONTIER
                                            TELEPHONE: 203-614-5600
13   401 MERRITT 7                                                                 TRADE                                                          $6,892,743.00
                                            FAX: 203-614-4651
     NORWALK, CT 06851
                                            EMAIL: MARK.NIELSEN@FTR.COM
                                            ATTN: DIRECTOR OR OFFICER
     LEC SERVICES INC.
                                            TELEPHONE: 505-301-3404
14   138 VAN CAMP BLVD                                                             TRADE                                                          $6,582,326.00
                                            FAX: N/A
     LOS LUNAS, NM 87031
                                            EMAIL: DSCROSSLEY@ISP.COM
                                            ATTN: DIRECTOR OR OFFICER
     INFINERA
                                            TELEPHONE: 408-572-5200
15   140 CASPIAN COURT                                                             TRADE                                                          $6,081,389.00
                                            FAX: 408-572-5454
     SUNNYVALE, CA 94089
                                            EMAIL: DHEARD@INFINERA.COM
                                            ATTN: DANNY WHITE
     TRIPLE D COMMUNICATIONS
                                            TELEPHONE: 859-887-4683
16   3006 PARK CENTRAL AVENUE                                                      TRADE                                                          $5,928,006.00
                                            FAX: 859-885-9824
     NICHOLASVILLE, KY 40356
                                            EMAIL: DWHITE@TRIPLEDLLC.COM
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                                                                                                                                Amount of claim
                                                                                  Nature of
                                                                                   claim
                                                                                                                     If the claim is fully unsecured, fill in only
                                                                                                                  unsecured claim amount. If claim is partially
                                                                                      (for         Indicate if
                                                                                                                       secured, fill in total claim amount and
                                                                                   example,         claim is
       Name of creditor and complete          Name, telephone number and email                                     deduction for value of collateral or setoff to
                                                                                 trade debts,     contingent,
      mailing address, including zip code        address of creditor contact                                                 calculate unsecured claim.
                                                                                  bank loans,    unliquidated,
                                                                                                                               1Deduction
                                                                                 professional     or disputed      Total
                                                                                                                               for value of
                                                                                 services, and                   claim, if
                                                                                                                                collateral        Unsecured Claim
                                                                                 government                      partially
                                                                                                                                 or setoff
                                                                                  contracts)                     secured
                                                                                                                                     [1]
                                            ATTN: VMWARE HILLTOP
     VELOCLOUD NETWORKS INC.                TELEPHONE: 650-209-4180
17   3429 HILLVIEW AVE                      FAX: 650-475-5001                      TRADE                                                          $5,598,590.00
     PALO ALTO, CA 94304                    EMAIL: AOLLI@VMWARE.COM;
                                            CONTACT@VELOCLOUD.COM
     ELEMENT - FKA PHH                      ATTN: DIRECTOR OR OFFICER
     655 BUSINESS CENTER DRIVE              TELEPHONE: 267-960-4000
18                                                                                 TRADE                                                          $5,435,197.00
     SUITE 250                              FAX: 267-960-4001
     HORSHAM, PA 19044                      EMAIL: N/A
                                            ATTN: DIRECTOR OR OFFICER
                                            TELEPHONE: 850-638-0429
     TRAWICK CONSTRUCTION CO
                                            FAX: 850-638-8373
19   1555 SOUTH BOULEVARD                                                          TRADE                                                          $5,418,813.00
                                            EMAIL:
     CHIPLEY, FL 32428-1626
                                            DOUG.TRAWICK@TRAWICKCONST
                                            RUCTION.COM
                                            ATTN: DIRECTOR OR OFFICER
     ADTRAN                                 TELEPHONE: 256-963-8000
20   901 EXPLORER BOULEVARD                 FAX: 256-963-6300                      TRADE                                                          $5,279,202.00
     HUNSTVILLE, AL 35806                   EMAIL:
                                            KEITH.KALMAN@ADTRAN.COM
                                            ATTN: C/O CENTURYLINK
     LEVEL 3 COMMUNICATIONS,                TELEPHONE: 720-888-2750
     LLC                                    FAX: 720-888-5422
21                                                                                 TRADE                                                          $5,211,613.00
     GENERAL COUNSEL                        EMAIL:
     BROOMFIELD, CO 80021                   STACEY.GOFF@CENTURYLINK.CO
                                            M
                                            ATTN: DIRECTOR OR OFFICER
     LIGHTOWER FIBER NETWORKS               TELEPHONE: 978-264-6000
22   80 CENTRAL STREET                      FAX: 978-264-6100                      TRADE                                                          $4,721,163.00
     BOXBOROUGH, MA 01719                   EMAIL:
                                            ESANDMAN@LIGHTOWER.COM
                                            ATTN: DIRECTOR OR OFFICER
     MICROSOFT                              TELEPHONE: 425-882-8080
23   ONE MICROSOFT WAY                      FAX: 425-706-7329                      TRADE                                                          $4,519,318.00
     REDMOND, WA 98052                      EMAIL:
                                            BUSCOND@MICROSOFT.COM
                                            ATTN: C/O CENTURYLINK
                                            TELEPHONE: 318-388-9000
     QWEST CORP
                                            FAX: 318-388-9064
24   GENERAL COUNSEL                                                               TRADE                                                          $4,484,967.00
                                            EMAIL:
     MONROE, LA 71203
                                            STACEY.GOFF@CENTURYLINK.CO
                                            M
                                            ATTN: DIRECTOR OR OFFICER
     GENERAL DATATECH LP                    TELEPHONE: 214-857-6165;
25   999 METROMEDIA PLACE                   214-857-6100                           TRADE                                                          $4,118,389.00
     DALLAS, TX 75247                       FAX: 214-857-6500
                                            EMAIL: EBLATARIC@GDT.COM
                                            ATTN: DIRECTOR OR OFFICER
     FORSYTHE SOLUTIONS GROUP
                                            TELEPHONE: 847-213-7000
     INC.
26                                          FAX: 847-675-8017                      TRADE                                                          $3,855,195.00
     7770 FRONTAGE ROAD
                                            EMAIL:
     SKOKIE, IL 60077
                                            THOFFMAN@FORSYTHE.COM
                                            ATTN: TONG KHUC, VP
     ACTIONTEC ELECTRONICS
                                            TELEPHONE: 408-548-4762
27   3301 OLCOTT ST                                                                TRADE                                                          $3,757,838.00
                                            FAX: 408-541-9003
     SANTA CLARA, CA 95054
                                            EMAIL: TKHUC@ACTIONTEC.COM
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                                                                                                                                Amount of claim
                                                                                  Nature of
                                                                                   claim
                                                                                                                     If the claim is fully unsecured, fill in only
                                                                                                                  unsecured claim amount. If claim is partially
                                                                                      (for         Indicate if
                                                                                                                       secured, fill in total claim amount and
                                                                                   example,         claim is
       Name of creditor and complete          Name, telephone number and email                                     deduction for value of collateral or setoff to
                                                                                 trade debts,     contingent,
      mailing address, including zip code        address of creditor contact                                                 calculate unsecured claim.
                                                                                  bank loans,    unliquidated,
                                                                                                                               1Deduction
                                                                                 professional     or disputed      Total
                                                                                                                               for value of
                                                                                 services, and                   claim, if
                                                                                                                                collateral        Unsecured Claim
                                                                                 government                      partially
                                                                                                                                 or setoff
                                                                                  contracts)                     secured
                                                                                                                                     [1]
                                            ATTN: LEGAL DEPARTMENT
     TIME WARNER CABLE                      TELEPHONE: 203-428-0281
28   400 ATLANTIC STREET, CT,               FAX: 212-364-8460                      TRADE                                                          $3,591,108.00
     ROOM 407 STAMFORD, CT 06901            EMAIL:
                                            SERENA.PARKER@CHARTER.COM
                                            ATTN: FRED SILVERMAN
     EXCLUSIVE NETWORKS USA                 TELEPHONE: 954-782-6056
29   2075 ZANKER ROAD                       FAX: 408-943-9198                      TRADE                                                          $3,466,808.00
     SAN JOSE, CA 95131                     EMAIL: FSILVERMAN@EXCLUSIVE-
                                            NETWORKS.COM
                                            ATTN: CHRIS CROWE, PRESIDENT
     T3 WIRELESS INC                        TELEPHONE: 214-228-0930;
30   220 W MAIN STREET COUNCIL              620-767-7193                           TRADE                                                          $3,459,329.00
     GROVE, KS 66846                        FAX: 661-458-2329
                                            EMAIL: INFO@T3WIRELESS.NET
                                            ATTN: DIRECTOR OR OFFICER
     ZAYO
                                            TELEPHONE: 303-381-4683
     1821 30TH STREET
31                                          FAX: N/A                               TRADE                                                          $3,219,650.00
     UNIT A
                                            EMAIL: BRAD.KORCH@ZAYO.COM;
     BOULDER, CO 80301
                                            SHIRA.COOKS@ZAYO.COM
                                            ATTN: DIRECTOR OR OFFICER
     EQUINIX INC.                           TELEPHONE: 650-598-6000
32   4252 SOLUTIONS CENTER                  FAX: 650-598-6900                      TRADE                                                          $2,997,406.00
     CHICAGO, IL 60677-4002                 EMAIL:
                                            COLLECTIONS@EQUINIX.COM
                                            ATTN: DIRECTOR OR OFFICER
     CIENA CORP
                                            TELEPHONE: 410-694-5700
33   7035 RIDGE ROAD                                                               TRADE                                                          $2,952,217.00
                                            FAX: 410-694-5750
     HANOVER, MD 21076
                                            EMAIL: N/A
                                            ATTN: DIRECTOR OR OFFICER
     CBRE INC.                              TELEPHONE: 213-613-3333
34   400 S HOPE STREET                      FAX: 216-613-3005                      TRADE                                                          $2,885,755.00
     LOS ANGELES, CA 90071                  EMAIL: CORPCOMM@CBRE.COM;
                                            LEW.HORNE@CBRE.COM
                                            ATTN: ROC-CABS
     BELLSOUTH
                                            TELEPHONE: 404-249-2000
35   600 N POINT PKWY                                                              TRADE                                                          $2,596,089.00
                                            FAX: 404-249-2071
     ALPHARETTA, GA 30005
                                            EMAIL: RT2547@ATT.COM
                                            ATTN: DIRECTOR OR OFFICER
     MP NEXLEVEL LLC                        TELEPHONE: 320-963-2410;
36   500 COUNTY RD 37 E                     320-963-2400                           TRADE                                                          $2,430,702.00
     MAPLE LAKE, MN 55358                   FAX: 320-963-2438
                                            EMAIL: N/A
                                            ATTN: DIRECTOR OR OFFICER
                                            TELEPHONE: 630-944-9337
     ENSONO LP                              FAX: 630-944-1432
37   3333 FINLEY ROAD                       EMAIL:                                 TRADE                                                          $2,161,902.00
     DOWNERS GROVE, IL 60515                JUDY.RASMUSSEN@ENSONO.COM;
                                            RICHARD.DRESDEN@ENSONO.COM

                                            ATTN: ACCOUNTS RECEIVABLE
     FIBERTECH NETWORKS LLC                 TELEPHONE: 585-697-5100
38   300 MERIDAN CENTRE                     FAX: 585-442-8845                      TRADE                                                          $2,133,547.00
     ROCHESTER, NY 14618                    EMAIL:
                                            BDANGLER@FIBERTECH.COM
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                                                                                                                                Amount of claim
                                                                                  Nature of
                                                                                   claim
                                                                                                                     If the claim is fully unsecured, fill in only
                                                                                                                  unsecured claim amount. If claim is partially
                                                                                      (for         Indicate if
                                                                                                                       secured, fill in total claim amount and
                                                                                   example,         claim is
       Name of creditor and complete          Name, telephone number and email                                     deduction for value of collateral or setoff to
                                                                                 trade debts,     contingent,
      mailing address, including zip code        address of creditor contact                                                 calculate unsecured claim.
                                                                                  bank loans,    unliquidated,
                                                                                                                               1Deduction
                                                                                 professional     or disputed      Total
                                                                                                                               for value of
                                                                                 services, and                   claim, if
                                                                                                                                collateral        Unsecured Claim
                                                                                 government                      partially
                                                                                                                                 or setoff
                                                                                  contracts)                     secured
                                                                                                                                     [1]
     METASWITCH NETWORKS                    ATTN: LEGAL DEPARTMENT
     12007 SUNRISE VALLEY DR.               TELEPHONE: 703-480-0500
39                                                                                 TRADE                                                          $2,118,722.00
     STE 250                                FAX: 703-480-0499
     RESTON, VA 20191                       EMAIL: N/A
     CONDUENT COMMERCIAL                    ATTN: DIRECTOR OR OFFICER
     SOLUTIONS LLC                          TELEPHONE: 844-663-2638
40                                                                                 TRADE                                                          $2,083,394.00
     100 CAMPUS DRIVE                       FAX: N/A
     FLORHAM PARK, NJ 07932                 EMAIL: N/A
     PRODAPT                                ATTN: HEADQUARTERS
     7565 SW MOHAWK STREET                  TELEPHONE: 503-636-3737
41                                                                                 TRADE                                                          $2,016,429.00
     BUILDING M                             FAX: 503-885-0850
     TUALATIN, OR 97062                     EMAIL: N/A
     OUTPUT SERVICES GROUP
                                            ATTN: DIRECTOR OR OFFICER
     BILLING SERVICES
                                            TELEPHONE: 201-871-1100
42   100 CHALLENGER ROAD                                                           TRADE                                                          $1,980,488.00
                                            FAX: 201-871-3350
     SUITE 303
                                            EMAIL: INFO@OSGBILLING.COM
     RIDGEFIELD PARK, NJ 07660
                                            ATTN: DIRECTOR OR OFFICER
     FAST TRACK CONSTRUCTION                TELEPHONE: 936-545-1506
43   1919 SW LOOP 304                       FAX: 936-545-1598                      TRADE                                                          $1,804,801.00
     CROCKETT, TX 75835                     EMAIL:
                                            CAROLYN@FASTTRACKTEXAS.COM
                                            ATTN: COMCAST CORPORATION
     COMCAST COMCAST CENTER                 TELEPHONE:
44                                                                                 TRADE                                                          $1,786,797.00
     PHILADELPHIA, PA 19103                 FAX: 215-981-7790
                                            EMAIL: N/A
     HOUSLEY COMMUNICATIONS
                                            ATTN: DIRECTOR OR OFFICER
     INC.
                                            TELEPHONE: 325-944-9905
45   3550 SOUTH BRYANT                                                             TRADE                                                          $1,715,204.00
                                            FAX: 325-944-1781
     BOULEVARD
                                            EMAIL: INFO@HC-INC.COM
     SAN ANGELO, TX 76903
     TATA CONSULTANCY SERVICES
                                            ATTN: JANARTHANAN ANGIYA
     LIMITED
                                            TELEPHONE: 469-230-8743
46   379 THORNAL STREET                                                            TRADE                                                          $1,562,096.00
                                            FAX: 212-867-8652
     4TH FLOOR
                                            EMAIL: N/A
     EDISON, NJ 08837
                                            ATTN: DIRECTOR OR OFFICER
     MITELTECHNOLOGIES INC.
                                            TELEPHONE: 480-449-8900
47   1615 SOUTH 52ND STREET                                                        TRADE                                                          $1,526,652.00
                                            FAX: 480-449-8901
     TEMPE, AZ 85281
                                            EMAIL: N/A
                                            ATTN: DIRECTOR OR OFFICER
     USIC INC.
                                            TELEPHONE: 317-575-7800
48   9045 NORTH RIVER ROAD                                                         TRADE                                                          $1,477,432.00
                                            FAX: 317-575-7881
     INDIANAPOLIS, IN 46240
                                            EMAIL: N/A
                                            ATTN: DIRECTOR OR OFFICER
     COMMSCOPE TECHNOLOGIES
                                            TELEPHONE: 828-324-2200
49   LLC 1100 COMMSCOPE PLACE,                                                     TRADE                                                          $1,426,259.00
                                            FAX: 828-323-4849
     SE HICKORY, NC 28602-3619
                                            EMAIL: N/A
                                            ATTN: DIRECTOR OR OFFICER
                                            TELEPHONE: 866-961-0027
     COX COMMUNICATIONS                     FAX: 404-843-5280
50   1400 LAKE HEARN DRIVE                  EMAIL:                                 TRADE                                                          $1,396,561.00
     ATLANTA, GA 30319                      COXCORP.CUSTOMERRELATIONS
                                            @COX.COM;
                                            VICTOR.COOPER@COX.COM
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    Fill in this information to identify the case and this filing:

   Debtor Name Windstream Holdings, Inc.

   United States Bankruptcy Court for the:                Southern District of New York
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration Official Form 201A, List of Equity Security Holders, Corporate
            Ownership Statement



    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                 /s/ Kristi M. Moody
                                       02/25/2019
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Kristi M. Moody
                                                                                 Printed name
                                                                                 Authorized Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                  ACTION BY WRITTEN CONSENT
                                            OF THE
                                     BOARD OF DIRECTORS
                                              OF
                                  WINDSTREAM HOLDINGS, INC.
                                             AND
                                  WINDSTREAM SERVICES, LLC

                                 Resolutions of the Board of Directors

                                             February 25, 2019

   RE: Restructuring Resolutions

          The undersigned, being the Board of Directors (“Board”) of Windstream Holdings, Inc., a
   Delaware corporation (the “Corporation”), and Windstream Services, LLC (“Services”), a
   Delaware limited liability company (hereinafter “the Companies”), in lieu of a meeting, hereby
   take the following actions and adopt the following resolutions by unanimous written consent
   pursuant to each such Company’s bylaws and the applicable laws of the state of Delaware:

           WHEREAS, the Board considered presentations by management and the financial and
   legal advisors of the Companies regarding the liabilities and liquidity situation of the Companies,
   the strategic alternatives available, and the effect of the foregoing on such Companies’ businesses
   and the businesses of Services’ subsidiaries;

           WHEREAS, the Board has had the opportunity to consult with management and the
   financial and legal advisors of such Company and to fully consider each of the strategic alternatives
   available to such Company; and

           WHEREAS, the Board has determined, in the judgment of such Board, that the following
   resolutions are advisable and in the best interests of the Companies, their subsidiaries, their
   creditors, and other parties in interest.

   CHAPTER 11 FILING

          NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is
   desirable and in the best interests of the Companies, its creditors, and other parties in interest, that
   each of Holdings and Services shall be, and hereby is, authorized to file or cause to be filed a
   voluntary petition for relief (such voluntary petition, and the voluntary petitions to be filed by each
   Company, collectively, the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of
   the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United States
   Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”) or other court
   of competent jurisdiction; and

          RESOLVED FURTHER, that the President & Chief Executive Officer, the Chief
   Financial Officer & Treasurer, the EVP - General Counsel & Corporate Secretary, the Chief
   Human Resources Officer, the SVP – Financial Planning & Assistant Treasurer, and the Vice
   President – Compensation, and any such other officer of the Companies as deemed necessary and




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   appropriate (each, an “Authorized Officer” and, collectively, the “Authorized Officers”), acting
   alone or with one or more other Authorized Officers be, and each of them hereby is, authorized,
   empowered, and directed to execute and file on behalf of such Company all petitions, schedules,
   lists, and other motions, objections, replies, applications, papers, or documents, and to take any
   and all action that they deem necessary, appropriate, or desirable to obtain such relief, including,
   without limitation, any action necessary, appropriate, or desirable to maintain the ordinary course
   operation of such Company’s businesses or to assist such Company in the Chapter 11 Cases and
   in carrying out its duties under the provisions of the Bankruptcy Code.

   RETENTION OF PROFESSIONALS

           RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is,
   authorized and directed to employ the law firm of Kirkland & Ellis LLP, as general bankruptcy
   counsel, to represent and assist each Company in carrying out its duties under the Bankruptcy
   Code, and to take any and all actions to advance such Company’s rights and obligations, including
   filing any motions, objections, replies, applications, or pleadings; and in connection therewith,
   each of the Authorized Officers, with power of delegation, is hereby authorized and directed to
   execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
   appropriate application for authority to retain Kirkland & Ellis LLP in accordance with applicable
   law; and

           RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is,
   authorized and directed to employ the firm of PJT Partners LP, as financial advisor and investment
   banker, to represent and assist each Company in carrying out its duties under the Bankruptcy
   Code, and to take any and all actions to advance such Company’s rights and obligations; and in
   connection therewith, each of the Authorized Officers is, with power of delegation, hereby
   authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
   to cause to be filed an appropriate application for authority to retain PJT Partners LP in accordance
   with applicable law; and

           RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is,
   authorized and directed to employ the firm of Alvarez & Marsal North America, LLC, as
   restructuring advisor, to represent and assist each Company in carrying out its duties under the
   Bankruptcy Code, and to take any and all actions to advance each of such Company’s rights and
   obligations; and in connection therewith, each of the Authorized Officers is, with power of
   delegation, hereby authorized and directed to execute appropriate retention agreements, pay
   appropriate retainers, and to cause to be filed an appropriate application for authority to retain
   Alvarez & Marsal North America, LLC in accordance with applicable law; and

           RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is,
   authorized and directed to employ the firm of Kurtzman Carson Consultants, as notice, claims, and
   balloting agent, to represent and assist each Company in carrying out its duties under the
   Bankruptcy Code, and to take any and all actions to advance such Company’s rights and
   obligations; and in connection therewith, each of the Authorized Officers, with power of
   delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
   appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
   services of Kurtzman Carson Consultants LLC in accordance with applicable law; and


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           RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is,
   authorized and directed to employ any other professionals to assist each Company in carrying out
   its duties under the Bankruptcy Code; and in connection therewith, each of the Authorized
   Officers, with power of delegation, is hereby authorized and directed to execute appropriate
   retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
   for authority to retain the services of any other professionals as necessary; and

          RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is, with
   power of delegation, authorized, empowered, and directed to execute and file all petitions,
   schedules, motions, objections, replies, applications, pleadings, lists, and other papers and, in
   connection therewith, to employ and retain all assistance by legal counsel, accountants, investment
   bankers, financial advisors, restructuring advisors, and other professionals and to take and perform
   any and all further acts and deeds that each of the Authorized Officers deem necessary, proper, or
   desirable in connection with each Company’s Chapter 11 case, with a view to the successful
   prosecution of the case.

   CASH COLLATERAL

           RESOLVED FURTHER, that to the extent applicable to each Company, in the judgment
   of the Board, it is desirable and in the best interest of such Company, its interest holders, its
   creditors, and other parties in interest, to obtain the benefits from the use of cash collateral
   (the “Cash Collateral,” as such term is defined in section 363(a) of the Bankruptcy Code), which
   is security for certain of the Company’s prepetition secured lenders under certain credit facilities
   by and among the Company, the guarantors party thereto, and the lenders party thereto
   (the “Prepetition Secured Lenders”); and

           RESOLVED FURTHER, that to the extent applicable to each Company, the Authorized
   Officers be, and hereby are, authorized, directed and empowered in the name of, and on behalf of,
   such Company to seek approval of the use of cash collateral pursuant to a cash collateral order in
   interim and final form (a “Cash Collateral Order”), and, to the extent applicable to each Company,
   any Authorized Officer be, and hereby is, authorized, empowered, and directed to negotiate,
   execute (under the common seal of the Company, if appropriate), and deliver any and all
   agreements, instruments, or documents, by or on behalf of the Company, necessary or advisable
   to implement the Cash Collateral Order, including providing for adequate protection to the
   Prepetition Secured Lenders in accordance with section 363 of the Bankruptcy Code, as well as
   any additional or further agreements for the use of cash collateral in connection with the
   Company’s chapter 11 cases, which agreement(s) may require each Company to grant adequate
   protection and security interests to the Prepetition Secured Lenders and each other agreement,
   instrument, or document to be executed and delivered in connection therewith, by or on behalf of
   each Company pursuant thereto or in connection therewith, all with such changes therein and
   additions thereto as any Authorized Officer in his absolute discretion approves, such approval to
   be conclusively evidenced by the taking of such action or by the execution and delivery thereof;
   and

          RESOLVED FURTHER, that each of the Authorized Officers be, and hereby are,
   authorized, directed, and empowered in the name of, and on behalf of, each Company to execute
   and deliver any amendments, supplements, modifications, renewals, replacements, consolidations,


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   substitutions, and extensions of the Cash Collateral Order or to do such other things which shall in
   his/her absolute discretion be necessary, desirable, proper, or advisable to give effect to the
   foregoing resolutions, which determination shall be conclusively evidenced by his or their
   execution thereof.

   DEBTOR-IN-POSSESSION FINANCING

           WHEREAS, reference is made to those certain debtor-in-possession financing proposals
   that set forth the terms and conditions of the debtor-in-possession financing to be provided to the
   Companies (the “Borrowers”) by the lenders listed therein (the “DIP Lenders”); and

          WHEREAS, the Borrowers have requested that the DIP Lenders provide senior secured
   debtor-in-possession credit facilities (together, the “DIP Facilities”) to the Companies; and

           WHEREAS, each Company will obtain benefits from the incurrence of the DIP
   Obligations (as defined below), and it is advisable and in the best interest of each Company to
   enter into the DIP Loan Documents (as defined below), and to perform its obligations thereunder,
   including granting security interests in all or substantially all of its assets; and

           WHEREAS, the obligation of the DIP Lenders to make the extensions of credit to the
   Borrowers under the DIP Facilities is subject to, among other things, each Company entering into
   a binding credit agreement and/or commitment letters with the DIP Lenders and one or more agents
   acting on behalf of the DIP Lenders (the “DIP Agents”) (collectively with any other documents
   and agreements related thereto or contemplated thereunder, including and any documents,
   instruments or certificates as may be reasonably requested by the DIP Agents (as defined below),
   the “DIP Loan Documents”), and otherwise satisfying certain conditions in connection therewith
   (the obligations thereunder, the “DIP Obligations”); and

           WHEREAS, the Borrowers and the DIP Lenders are continuing negotiations regarding the
   final form of the DIP Loan Documents.

           NOW, THEREFORE, BE IT RESOLVED, that the form, terms and provisions of the
   DIP Loan Documents presently before the Boards, and the transactions contemplated thereunder
   (including, without limitation, the borrowings and the incurrence of the DIP Obligations
   thereunder), and the guaranties, liabilities, obligations, security interest granted and notes issued,
   if any, in connection therewith, be and hereby are authorized, adopted and approved, subject to
   such changes, additions, and modifications thereto as an Authorized Officer executing the same
   shall approve, such approval to be conclusively evidenced by an Authorized Officer’s execution
   and delivery thereof; and

            RESOLVED FURTHER, that each Company will obtain benefits from its entry into the
   DIP Loan Documents and incurrence and performance of the DIP Obligations thereunder and it is
   advisable and in the best interest of each Company to enter into the DIP Loan Documents, and to
   perform its obligations thereunder, including granting security interests in all or substantially all
   of its assets; and

           RESOLVED FURTHER, that each Company shall be, and hereby is, authorized to enter
   into the DIP Loan Documents and incur the DIP Obligations, and the Authorized Officers, acting


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   alone or with one or more Authorized Officers, be, and hereby are, authorized and empowered to
   execute and deliver the DIP Loan Documents, with such changes, additions, and modifications
   thereto as an Authorized Officer executing the same shall approve, such approval to be
   conclusively evidenced by an Authorized Officer’s execution and delivery thereof; and

           RESOLVED FURTHER, that the Authorized Officers, acting alone or with one or more
   Authorized Officers, be, and hereby are, authorized, in the name and on behalf of each Company,
   to assign, transfer, pledge and grant to the DIP Agents, for the ratable benefit of the respective or
   applicable DIP Lenders, a security interest in all or substantially all the assets of such Company,
   as collateral security for the prompt and complete payment and performance when due of the DIP
   Obligations under the documents to which such Company is a party and to take or cause to be
   taken any such actions as may be necessary, appropriate or desirable to cause each Company to
   create, perfect and maintain a security interest in each Company’s property or assets constituting
   “Collateral” as described or contemplated in the DIP Loan Documents (the “Collateral”); and

           RESOLVED FURTHER, that the Authorized Officers, acting alone or with one or more
   Authorized Officers, be, and hereby are, authorized, in the name and on behalf of each Company,
   to enter into the guarantees as described or contemplated by the DIP Loan Documents or any other
   documents, certificates, instruments, agreements, intercreditor agreements, any extension
   amendment or any incremental agreement required to consummate the transactions contemplated
   by the DIP Loan Documents and perform its obligations thereunder and to guarantee the payment
   and performance of the DIP Obligations of the Borrowers and any other guarantor thereunder; and

           RESOLVED FURTHER, that the DIP Agents are authorized to file or record financing
   statements and other filing or recording documents or instruments with respect to the Collateral
   without the signature of each Company in such form and in such offices as such DIP Agent
   determines appropriate to perfect the security interests of the DIP Lenders granted under the DIP
   Loan Documents. The DIP Agents are authorized to use the collateral description “all assets” or
   “all or substantially all personal property assets” or any similar description in any such financing
   statements; and

           RESOLVED FURTHER, that the Authorized Officers, acting alone or with one or more
   Authorized Officers, be, and hereby are, authorized, empowered and directed in the name of, and
   on behalf of, each Company to seek authorization to incur the DIP Obligations and to seek approval
   of the use of cash collateral pursuant to a postpetition financing order in interim and final form,
   and any Authorized Officer be, and hereby is, authorized, empowered, and directed to negotiate,
   execute, and deliver any and all agreements, instruments, or documents, by or on behalf of each
   Company, necessary to implement the postpetition financing, including providing for adequate
   protection to the Prepetition Secured Lenders in accordance with section 363 of the Bankruptcy
   Code, as well as any additional or further agreements for entry into the DIP Loan Documents and
   the use of cash collateral in connection with each Company’s Chapter 11 Cases, which agreements
   may require each Company to grant adequate protection and liens to each Company’s Prepetition
   Secured Lenders and each other agreement, instrument, or document to be executed and delivered
   in connection therewith, by or on behalf of each Company pursuant thereto or in connection
   therewith, all with such changes therein and additions thereto as any Authorized Officer approves,
   such approval to be conclusively evidenced by the taking of such action or by the execution and
   delivery thereof; and


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           RESOLVED FURTHER, that any Authorized Officer or other officer of each Company
   is hereby authorized, empowered, and directed, in the name of and on behalf of each Company, to
   take such actions and negotiate or cause to be prepared and negotiated and to execute, deliver,
   perform, and cause the performance of, each of the transactions contemplated by the DIP Loan
   Documents and such other agreements, certificates, instruments, receipts, petitions, motions, or
   other papers or documents to which each Company is or will be a party or any order entered into
   in connection with the Chapter 11 Cases (collectively, and together with the DIP Credit Agreement
   and the other DIP Loan Documents, the “Financing Documents”), incur and pay or cause to be
   paid all related fees and expenses, with such changes, additions, and modifications thereto as an
   Authorized Officer executing the same shall approve; and

           RESOLVED FURTHER, that each Company, as debtor and debtor-in-possession under
   the Bankruptcy Code be, and hereby is, authorized, empowered, and directed to incur any and all
   obligations and to undertake any and all related transactions on substantially the same terms as
   contemplated under the Financing Documents (collectively, the “Financing Transactions”),
   including granting liens on its assets to secure such obligations; and

           RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is,
   authorized, empowered and directed in the name of, and on behalf of, each Company, to execute
   and deliver any amendments, supplements, modifications, renewals, replacements, consolidations,
   substitutions, and extensions of the postpetition financing or any of the Financing Documents or
   to do such other things which shall in their sole judgment be necessary, desirable, proper, or
   advisable in order to perform each Company’s DIP Obligations and to give effect to the foregoing
   resolutions, which determination shall be conclusively evidenced by his/her or their execution
   thereof.

   GENERAL

           RESOLVED FURTHER, that in addition to the specific authorizations heretofore
   conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
   delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of each
   Company, to take or cause to be taken any and all such other and further action, and to execute,
   acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
   documents and to pay all expenses, including but not limited to filing fees, in the case as in such
   officer’s or officers’ judgment, shall be necessary, advisable, or desirable in order to fully carry
   out the intent and accomplish the purposes of the resolutions adopted herein; and

          RESOLVED FURTHER, that each Company and the respective Board of each Company
   has received sufficient notice of the actions and transactions relating to the matters contemplated
   by the foregoing resolutions, as may be required by the organizational documents of such
   Company, or hereby waives any right to have received such notice; and

           RESOLVED FURTHER, that all acts, actions, and transactions relating to the matters
   contemplated by the foregoing resolutions done in the name of and on behalf of each Company,
   which acts would have been approved by the foregoing resolutions except that such acts were
   taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
   the true acts and deeds of such Company with the same force and effect as if each such act,


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   transaction, agreement, or certificate has been specifically authorized in advance by resolution of
   the respective Board of each Company; and

           RESOLVED FURTHER, that each of the Authorized Officers (and their designees and
   delegates) be, and hereby is, authorized and empowered to take all actions or to not take any action
   in the name of each Company with respect to the transactions contemplated by these resolutions
   hereunder as the sole shareholder, partner, member, managing member, or manager of each direct
   subsidiary of such Company, in each case, as such Authorized Officer shall deem necessary or
   desirable in such Authorized Officers’ reasonable business judgment as may be necessary or
   convenient to effectuate the purposes of the transactions contemplated herein; and

           RESOLVED FURTHER, that Services is directly or indirectly the sole member, general
   partner, managing member, equivalent manager, or other governing body of any other company
   or subsidiary (each, a “Controlling Company”), and thus, each Authorized Officer is authorized,
   empowered and directed to take each of the actions described in these resolutions or any of the
   actions authorized by these resolutions on behalf of each such applicable Controlling Company;
   and

           RESOLVED FURTHER, that this Action may be executed in any number of
   counterparts, each of which shall be deemed to be an original, and such counterparts shall
   constitute but one and the same consent; and

           RESOLVED FURTHER, that electronic or photostatic copies of signatures to this Action
   shall be deemed to be originals and may be relied on to the same extent as the originals; and

           RESOLVED FURTHER, that the actions taken by this Action shall have the same force
   and effect as if taken at a meeting of the Board of each of the Companies, as applicable, duly called
   and constituted pursuant to each such Company’s bylaws, operating agreement, or limited liability
   company agreement, as applicable, and the applicable laws of the jurisdiction in which such
   Company is organized.

                                     *       *      *       *       *




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   IN WITNESS WHEREOF, the undersigned has executed this Action via Written Consent as of
   the date above first written.

                                           WINDSTREAM HOLDINGS, INC.,
                                           a Delaware Corporation

                                           WINDSTREAM SERVICES, LLC,
                                           a Delaware Limited Liability Company


                                           By:______________________________________
                                           Name: Alan L. Wells
                                           Title: Chair

                                           By:______________________________________
                                           Name: Tony Thomas
                                           Title: Director

                                           By:______________________________________
                                           Name: Samuel E. Beall, III
                                           Title: Director

                                           By:______________________________________
                                           Name: Jeannie Diefenderfer
                                           Title: Director

                                           By:______________________________________
                                           Name: Jeffrey T. Hinson
                                           Title: Director

                                           By:______________________________________
                                           Name: William G. LaPerch
                                           Title: Director

                                           By:______________________________________
                                           Name: Julie A. Shimer
                                           Title: Director

                                           By:______________________________________
                                           Name: Michael G. Stoltz
                                           Title: Director




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                                          By:______________________________________
                                          Name: Walter L. Turek
                                          Title: Director




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